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              APPENDIX C
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                                                        July 16, 2021

VIA EMAIL

Jonathan Kanter
Brandon Kressin
Kanter Law Group PLLC
1717 K Street N.W., Suite 900
Washington D.C., 20006


Re:        Cases 1:20-cv-03010 (APM), 1:20-cv-03715 (APM)
           Rule 45 Subpoena to Yelp – Yelp’s June 18 Letter to Google

Jonathan, Brandon,

        We have reviewed Yelp’s June 18 letter to Google. We respond here with clarifications
regarding Yelp’s current list of proposed custodians, and propose additional custodians for Yelp’s
response to Google’s subpoena. We will follow up early next week with a comprehensive proposal for
search terms both for priority topics and additional requests from Google’s subpoena.

      I.        Custodians

                a. Clarifications regarding current custodians

              Public information indicates that             assumed his current role as
                                . Please provide a list of positions           has held at Yelp since
joining the company in 2012 and a timeline for his different roles. To the extent              documents
covering operations and strategy do not cover the entire relevant period, Google may request other
custodians with documents on the topics currently covered by               files.

                 : Public information indicates that              tenure with Yelp began in 2015. Please
provide a list of the positions             has held at Yelp since joining the company and a timeline for
his different roles. To the extent                documents on business development do not cover the
entire relevant period, Google may request other custodians with documents on the topics currently
covered by                files.

                : Please provide the names of any individuals who occupied Yelp’s COO role prior to
            during the relevant period.




       AUSTIN    BEIJING    BOSTON      BRUSSELS     HONG KONG    LONDON    LOS ANGELES    NEW YORK      PALO ALTO
                SAN DIEGO        SAN FRANCISCO     SEATTLE   SHANGHAI   WASHINGTON, DC    WILMINGTON, DE
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            b. Proposed additional custodians

         Google proposes including                         and               as additional custodians for
Yelp’s response to Google’s subpoena. These individuals’ documents will cover topics not fully covered
by the current list of custodians Yelp has offered.                documents will cover, among other topics,
third-party communications with government entities, media, and industry associations related to the
allegations in the case, and internal communications related to and supporting Yelp’s public statements
regarding competition.                   documents will cover, among other topics, academic work Yelp
has been involved in related to the allegations in the litigation, and experiments related to and analysis of
Yelp’s business and performance as well as Google’s search results and search advertising offerings.

         In addition, Google has identified                 as a potential custodian relevant to requests
covering Yelp’s revenue sources, monetization strategies, customer complaints, quality, performance, and
competition. Please provide information regarding the scope of                     duties during her tenure at
Yelp, in particular to what degree her role was distinct from                 and                  , and the
extent to which productions from                  files would be duplicative of productions from
        and                 files.

        Google requests that all search terms proposed for any request be run for all custodians, and
reserves the possibility that it will request additional custodians beyond those listed above after reviewing
any documents provided by Yelp and the information requested above regarding current and proposed
custodians.

    II.     Search Terms

        As noted above, Google will follow up early next week with a comprehensive proposal for search
terms that responds to Yelp’s proposals in its June 18 letter regarding Google’s priority topics and
requests, and proposes search terms and approaches for additional requests from Google’s subpoena.
Please provide at your earliest convenience the current set of search terms agreed to with DOJ and
Colorado, if any have been added since Yelp’s June 18 letter.

        Please let us know if you have any questions regarding these proposals. We would be glad to
discuss them at our next meet-and-confer.

                                                           Sincerely,

                                                           WILSON SONSINI GOODRICH & ROSATI
                                                           Professional Corporation


                                                           /s/ Franklin M. Rubinstein
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cc:
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